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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION

LAKHRAJ MANOHAR                                                                     PLAINTIFF

v.                               Case No. 3:16-cv-00076-KGB

BAXTER, et al.                                                                  DEFENDANTS

                                      AMENDED JUDGMENT

       Pursuant to the Amended Order entered on this date, it is considered, ordered, and adjudged

that plaintiff Lakhraj Manohar’s complaint is dismissed. The relief sought is denied.

       So adjudged this 19th day of October, 2020.


                                                         ________________________________
                                                          Kristine G. Baker
                                                         United States District Judge
